                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE


MARCUS DEVONE COMAGE,                                 )
                                                      )
               Petitioner,                            )
                                                      )
v.                                                    )       Nos.    2:11-cr-6-JRG-1
                                                      )               2:14-cv-62-JRG
UNITED STATES OF AMERICA,                             )
                                                      )
               Respondent.                            )


                                   MEMORANDUM OPINION

       Before the Court is a pro se motion to vacate, set aside, or correct a sentence under 28

U.S.C. § 2255 [Doc. 118]. Petitioner bases his request for collateral relief on the Supreme Court

decision in Alleyne v. United States, 133 S. Ct. 2151 (2013) [Id.]. Petitioner acknowledges that

the motion to vacate was filed after the one-year statute of limitation period set forth in 28 U.S.C.

§ 2255(f)(1), but argues that the petition is timely under § 2255(f)(3) and (4) or, in the alternative,

that equitable tolling is appropriate [Id.]. Since it does not plainly appear from the face of the

motion that it should be summarily dismissed, the United States Attorney is hereby ORDERED to

file an answer or other pleading within thirty (30) days from the date of this Order. See Rule 4 of

the Rules Governing Section 2255 Proceedings for the United States District Courts.

       Although a reply to the government’s answer is not necessary, if Petitioner wishes to file a

reply, he SHALL file that reply within thirty (30) days from the date the government files its

answer with the Court. See Rule 5(d) of the Rules Governing Section 2255 Proceedings for the

United States District Courts. The Court directs Petitioner’s attention to L.R. 7.1(b), which

provides that briefs “shall not exceed 25 pages in length[,]” and L.R. 7.1(b), which provides that

any reply must directly reply to the points and authorities in the government’s answer and shall

not be used to reargue the points included in his § 2255 motion or to present any new issues.
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                                                 405
SO ORDERED.




                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




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